,1344016\,_ ]1/04) CB_S€ 2214-CV-023®-1F\H`L QUJWEQU'S§HE-'IHH 04/23/14 PB_Q€ l 01 3 APPENDIX H

l`he JS 44 civil cover sheet and the information contained herein neither replace nor su plement the filing and ser_vice ofp|eadin s or other papers as reguired by |aw, except as pro_vi(
)y local rules of court This form, approved by the Judicial Conference of the United tates in September 1974, is required for e use of the Clerk of ourt for the purpose of lnltlat
he CiVi1 docket Sh€€t. (SEE [NSTRUCTIONS ON THE REVERSE OF THE FORM,)

[. (a) PLAINTIFFS ADRIAN GUILFORD DEFENDANTS BANK OF AMERICA, N.A.; BANK OF
AMERICA CORPORATION; FIA CARD SERVICES, N.A.

(b) County of Residence ofFirst Listed Plairtiff PHILADELPl-llA
(EXCEPT IN U S- PLAFNTIFF CASES) County of Residence of First List:d Defcndant PHILADELPHIA
(1N U S. PLAINTIFF CASES ONLY)
NOTEZ rN LAND CONDEMNATION CASES, USE THE LOCAT[ON OF THE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

, , , LAND vaoLvED_
(C) AttOrney S (Flrm Name, Address, and Telephone Number) Cary L. Flitter, Esq., and
Theodore E. Lorenz, Esq., Flitter Lorenz, P.C., 450 N. Narberth Avenue, Suite 101 , Narberth,
PA 19072, (610) 822-0782
11. BASIS OF JURISDICTION (Place an “X" in One Box Only) III. CITIZENSHIP OF PRlNCIPAL PARTIES(P|ace an "X" in One Box for P|aintiff
(For Diversity Cases Only) and One Box for Def`endanl)
I:]l U.S. Govemmenl H 3 Federal Question PTF DEF PTF DEF
P|aintiff (U.S_ Govemment Not a Party) Citizen of This State I:ll m 1 lncorpora[ed ,, r principal place [] 4 I:]4
of Business In This State
2 . , C't' e ofAnother State 2 2 , _ 5 5
n U_S_ Govemmem E] 4 Diversity l ]Z n m m lncorporated an d Prlncipa| Place n m
Defendant (Indieate Citizenship ofParties in Item Ill) of Business ln Another State
Citizen or Subject ofa I:] 3 n 3 Foreign Nation [:| 6 I:] 6
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:1 230 Rent Lease & Ejectment E] 443 Housing/ Habeas Corpus: Security Act I:I 871 IRSiThird Pa.rty I:I 895 Freedom of lnfonnation
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Other State Statutes
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V. ORIGIN (Place an "X" in One Box Only) Transferred from Appeal to District
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Proceeding State Court Appe|late Court Reopened (specify) l.itigation Judgment

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACT!ON

 

Brief description of cause: TCPA, 47 U,S,C. § 227

 

VlI. REQUESTED IN I:l CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: g Yes [:I No.

 

Vlll. RELATED CASE(S) .
lF ANY (See instructions): DOCKET NUMBER

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JUDGE MAG. JUDGE

 

"OR OFFlCE'USE ONLY

RECEIPT # AMOUNT APPLYING IFP

 

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APPENDIX I

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

ADRIAN GUILFORD : CIVIL ACTION
V.

BANK OF AMERICA, N.A.; BANK OF AMERICA : NO.
CORPORATION; FIA CARD SERVICES, N.A. :

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, Submit to the clerk of court and serve on
the plaintiff and all other parties, a case management track designation form specifying the track to
which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. §2241 through §2255. ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Beneflts ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management
by the court. (See reverse side of this form for a detailed explanation of special

 

 

 

 

 

management cases) ( )
(f) Stand ard Management- )Cases that do not fall into any one of the other tracks. ( X )
7%~§/ / $/ M- {2\ \K/ ANDREW M. MILZ
Da‘te Attorne§/ at l`_r§t/ Attorney for Plaintiff
1610) 822-0782 (6 l 01 667-05 52 AMILZ@consumerslaw.com
Telephone Fax Number E-Mail Address

(Civ.660) 10/02

Case 2:14-cv-02360-PBT Dooument 1 Filed 04/23/14 Page 3 of 8
uNlTED STATES DiSTRicT couRT APPENDix F

FOR THE EASTERN DISTRICT OF PENNSYLVANIA _ DESIGNATION FORM to be used by counsel to indicate the category oi` the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff! 2721 S. 70TH Street, Philadelphia, PA 19142

Address of Defendant: 4 Penn Center Plaza, 1600 J.F.K. Bou|evard, Philadelphia, PA 19103

Place of Accident, lncident or Transaction: 2221 §§. 70'” §treet. Philadglphia. PA 19142

(Use Rever.re Sia'e For Addiliona/ Space)

 

 

Does this civil action involve anongovemmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?
(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a) Yes I:l No g

 

Does this case involve multidistrict litigation possibilities? Yes \:l No g
RELATED CASE, IF ANY:

Case Number: Judge Date Temiinated:
Civil cases are deemed related when yes is answered to any ofthe following questioner

l. ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

Yes I] No g
2. Does this case involve the same issue of fact or grow out ofthe came transaction as a prior suit pending or within one year previously terminated
action in this court'.1 Yes m No g

3. Does this case involve the validity or infringement ofa patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? Yes m NO g

 

CIVIL: (Place g in ONE CATEGORY ONLY)

A. Federa[ Question Cases: B. Diversity Jurisdiclion Cases.'

1. |:I Indemnity Contract, Marine Contract, and All Other Contracts l. I:l Insurance Contract and Other Contraets
2. m FELA 2. m Airplane Personal Injury

3 I:I Jones Act-Personal Injury 3. |:I Assault, Defamation

4. m Antitrust 4. l:l Marine Personal Injury

5. I:I Patent 5. m l\/lotorVehicle Personallnjury

6. l:l Labor-l\/|anagement Relations 6. [:] Other Personal Injury (Please specify)
7. I:I Civil Rights 7. l:l Products Liability

8. I:] Habeas Corpus 8. I:I Products Liability (Asbestos)

9. [:] Securities Act(s) Cases 9. El All other Diversily Cases

10. [_'_l Social Security Review Cases (Please specify)

11. E All other Federal Question Cases
(Please specify) TCPA, 47 U.S.C. § 227
ARBITRATION CERTIFICATION
(Check appropriate Category)
l, ANDREW M. MILZ , counsel of record do hereby certify:

I:l Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil
action case exceed the sum of $150,000.00 exclusive of interest and costs;

lief other than monetary damages i tghl \
DATE- E‘_//}/ 3 /‘?// WM 207715

Attorney-at-Law Attorney I.D.

NOTE: A trial de novo will be a trial by jury o lly if there has been compliance with F.R.C.P. 38.

 

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court except

i;;:~:db/s/‘/ @‘-/ZJ 2077/f

civ 609 (4/03) Attorney-at-Law `K Attorney I.D.

 

 

 

Case 2:14-cv-02360-PBT Dooument 1 Filed 04/23/14 Page 4 of 8

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

ADRIAN GUILFORD CIVIL ACTION
2721 S. 70th Street
Philadelphia, PA l 9142

Plaintiff

vs. NO.

BANK OF AMERICA, N.A.
4 Penn Center Plaza, 1600 J.F..K Boulevard
Philadelphia, PA 19103

and

BANK OF AMERICA CORPORATION
4 Penn Center Plaza, 1600 J...FK Boulevard
Philadelphia, PA 19103

and

FIA CARD SERVICES, N.A.
4 Penn Center Plaza, 1600 J...FK Boulevard
Philadelphia, PA 19103

 

 

Defendants
COMPLAINT
I. INTRODUCTION
l. This is an action for damages brought by an individual consumer for violations of

the Telephone Consumer Protection Act, 47 U.S.C. § 227 (hereinafter “TCPA”).
2. The TCPA broadly prohibits any person from placing calls and text messages
using an automated telephone dialing system or artificial or prerecorded voice to a cellular phone.
3. Defendant harassed Plaintiff With repeated autodialed collection calls to

Plaintif`f’ s cell phone, in violation of the TCPA,

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II. JURISDICTION AND VENUE

4. This Court has federal question subject matter jurisdiction over Plaintiff’s TCPA
claims pursuant to 28 U.S.C. § 1331; Mi`ms v. Arrow Fin. Ser., Inc., 132 S.Ct. 740 (2012).

5. Venue in this Court is proper in that Plaintiff resides here, the conduct complained
of occurred here, and the Defendant transacts business here.

III. PARTIES

6. Plaintiff Adrian Guilford is a natural person Who resides in Philadelphia, PA at
the address captioned.

7. Defendant Bank of America, N.A. is a national association with its main office in
Charlotte, NC, and a branch office at 4 Penn Center Plaza, 1617 JFK Boulevard, Philadelphia, PA
1 9103.

8. Defendant, Bank of America Corporation is a Delaware corporation that
maintains a corporate headquarters in Charlotte, NC, and operates a branch office at 4 Penn
Center Plaza, 1617 JFK Boulevard, Philadelphia, PA 19103.

9. Defendant FIA Card Services, N.A. is a national association that maintains
corporate headquarters in Wilmington, DE, and is a Wholly-owned subsidiary of Defendant Bank
of American Corporation, With a branch office at 4 Penn Center Plaza, 1617 JFK Boulevard,
Philadelphia, PA 19103.

10. Defendants, Bank of America, N.A., Bank of America Corporation, and FIA Card
Services, N.A. are collectively referred to herein as (“Bank of America” or “Defendants”).

11. Bank of America at all relevant times Was, a “person” as defined by 47 U.S.C. §

153(39).

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IV. STATEMENT OF CLAIM

12. Plaintiff Adrian Guilford has a cellular telephone number (ending in 0663) Which
she carries on her person and regularly uses.

13. Prior to 2010, she had a cellular telephone number (ending in 0390) which she
carried on her person and regularly used.

14. At all relevant times, these phone numbers were assigned to a cellular telephone
service Plaintiff used and paid for.

15. Bank of America placed calls to Plaintiffs cellular telephone numbers in the
effort to collect a Bank of America credit account.

16. The alleged credit account was a home mortgage.

17. Bank of America placed hundreds of calls to Plaintiff s cell phone.

18. When answered, there Would be a long pause or a recording, consistent With an
automated telephone dialing system.

19. lt is believed, and therefore averred, that the calls made by Bank of America to
Plaintiffs cell phone Were made using either an automatic telephone dialing system, as that term
is defined in 47 U.S.C. § 227(a)(l), or an artificial or prerecorded voice.

20. Bank of America did not have the “prior express consent” that is required by the
TCPA.

21. Plaintiff told Bank of America to stop calling her cell phone, but the calls did not
cease.

22. These telephone calls Were not made for “emergency purposes,” as defined by the

Federal Communication Commission in 47 C.F.R. § 64.1200.

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23. On December 6, 2007, the Federal Communications Commission (“FCC”) issued
a citation to Bank of America for violations of the TCPA, admonishing Bank of America that “[i]f
after receipt of this citation, you or your company violate the Communications Act or the
Commission’s rules in any manner described herein, the Commission may impose monetary
forfeitures not to exceed $l 1,000 for each such violation or each day of a continuing violation.”
FCC Citation to Bank of America, NA, Dec. 6, 2007, available at
http://fjallfoss.fcc.gov/edocs_public/attachmatch/DOC-302755Al.pdf

24. Notwithstanding its prior violations and FCC’s citation, Defendants continued to
place prohibited calls to Plaintiffs cell phone Without her prior express consent.

25. Defendant willfully placed these auto-dialed calls to Plaintiff without Plaintiff’s
consent.

COUNT I - TELEPHONE CONSUMER PROTECTION ACT

26. Plaintiff repeats the allegations contained above as if the same Were here set forth
at length.

27. Defendant has violated the TCPA, 47 U.S.C. § 227 et seq., and its implementing
Regulation at 47 C.F.R. § 64.1200 et seq., by making any call (other than a call made for
emergency purposes or made With the prior express consent of the called party) using any
automatic telephone dialing system or an artificial or prerecorded voice to any telephone number
assigned to a cellular telephone service. 47 U.S.C. § 227(b)(1)(A)(iii).

28. Plaintiff is entitled, under the TCPA, to statutory damages of not less than
$500.00 nor more than $1,500.00 for each autodialed or artificial/pre-recorded telephone call to

her cellular phone.

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WHEREFORE, Plaintiff respectfully requests that judgment be entered against
Defendant Bank of America, N.A., Bank of America Corporation and FIA Card Services, N.A.
for the following:

(a) Statutory damages for each call, pursuant to the TCPA;
(b) A declaration that Defendant’s calls violate the TCPA;
(b) Such other and further relief as the Court shall deem just and proper.
V. DEMAND FOR JURY TRIAL
Plaintiff demands a trial by jury as to all issues so triable.

Respectf`ully submitted:

137 dc M

CARY L. FLITTER
THEODORE E. LORENZ
ANDREW M. MILZ

 

FLITTER LORENZ, P.C.

450 N. Narberth Avenue, Suite 101
Narberth, PA 19072

(610) 822-0782

Attorneys for Plaintiff

